
O’Brien, J.
The petitioner is the assignee of Robert Schell, who recovered a judgment against The Mayor, etc., of the city of Mew York, on the 25th of July, 1885, for $5,507.16. He states in his petition that the whole amount of this judgment was paid over in the month of August, 1885, by the defendant in the action, to Peter A. Hargous, the attorney for the plaintiff and who prosecuted the claim.
It appears that the attorney was to receive and retain, as compensation for his services in the action, a certain percentage of the recovery. The petitioner admits that this sum was to be twenty-five per cent and the attorney claims that, by the agreement, he was to have more, though no claim beyond twenty-five per cent seems to have been made by him till after these proceedings were instituted.
The court at special term made an order, upon the petitioner’s application, directing the attorney to pay to the petitioner the sum of $3,251.31, that being the amount found due, or in default of such payment within five days that a commitment issue against him. The general term has reversed this order and denied the application and the petitioner appeals to this court from the order of reversal. The usual and ordinary remedy of a party, for the enforcement of a claim against another, is an action in a court of law or equity; but as between attorney and client it has long been settled that a proceeding of this character, to compel the attorney to pay over money received by him, and which belongs to the client, may be entertained and is within the power of the -court.
The principle upon which this exceptional remedy in such cases is based, is the power which the court has over its own officers to prevent them from, or punish them for, committing acts of dishonesty or impropriety calculated to bring contempt upon the administration of justice. In such case the court, in vindication of its own dignity or for the relief of the client when clearly wronged, may entertain summary proceedings by attachment against any of its officers, and may, in its discretion, direct the payment of money or punish them by fine or imprisonment. When an application is made to the court for the exercise of its powers to compel an attorney to pay over money received for, and belonging to, the client, the ground of the jurisdiction is the misconduct of its own officer. It has been said that this power should always be exercised with great prudence and caution, and a sedulous regard for the rights of the client on the one hand and of the attorney on the other. It is not an absolute right that the client has to invoke this severe and summary remedy against the attorney, but one always subject to discretion. It is for the court to say when, and under what circumstances, it will enter*444tain such proceedings against its officers upon the application of the client, and a refusal to proceed in that way is not the denial of any legal right Bowling Green Savings Bank v. Todd, 52 N. Y, 489; In the Matter of Knapp, 85 id., 284; In the Matter of EC., an Attorney, 87 id., 521; In re Paschal, 10 Wall., 483. It does not appear from the order appealed from that the application was refused for want of power to grant it, and we must, therefore, assume that it was denied for the reason that the court, in the exercise of its discretion, did not consider the case one, under all the facts and circumstances, for the exercise of the extraordinary jurisdiction invoked. If we were permitted to look into the opinion of the general term for the ground of reversal and denial of the relief, it would appear that the court was of the opinion that an assignee of the client was not entitled to this remedy. While it would, we think, be difficult to show that the supreme court has not the power to entertain the proceedings, even upon the application of an assignee, it certainly could, in the exercise of its discretion, decline to use it, and that may have been the ground of the decision appealed from. The order of the general term was, therefore, one resting in discretion, and we have no power fa&gt; review it.
The appeal should be dismissed, with costs.
All concur.
